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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

        ROGER J. STONE’S RESPONSE TO THE COURT’S MINUTE ORDER OF
     MARCH 1, 2019, GRANTING IN PART DEFENDANT’S MOTION TO SEAL [DE 51]

        (1)    “Imminent general release” was a misnomer. The attached Declaration of the

Publisher sets forth the distribution/publication dates:

               7.      The completed interior of the New Edition was uploaded to
                       the printer on January 17, 2019. The completed cover of the
                       New Edition was uploaded to the printer on January 18th,
                       2019. Printed copies of the New Edition shipped from the
                       printer on February 1st, 2019. Copies of the New Edition
                       were available at bookstores nationwide on or before the
                       publication date of February 19th, 2019.

               9.      As just stated, the official publication date for the purposes
                       of offering for sale, of the New Edition, including [DE 51-2
                       filed under seal], was February 19th, 2019. Nevertheless,
                       NDP Bookscan shows that copies of the New Edition had
                       arrived at bookstores as early as the first week of February.
                       Because there was no strict-on-sale date for retailers,
                       retailers began selling the New Edition when they received
                       it. As a result, by February 16, 2019 there had been
                       cumulative sales to consumers of 96 copies.

               10.     By virtue of the steps outlined above, prior to both February
                       8th, 2019 and February 21st, 2019, the New Edition had
                       already been printed, shipped and distributed to the public
                       and no changes could be made.

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See Attachment A, Declaration of Anthony Lyons.

        (2)     The matter was not brought to the Court’s attention in connection with the February

8, 2019 response (DE 28) because at that time there was no restraint on Defendant’s speech or

communicative ability, nor was there any such restraint until the conclusion of the February 21,

2019 hearing.

        The “nature of an order” that counsel suggested at the February 21, 2019 hearing was a

forward-looking order of restraint should the Court impose any restraints. To have injected into

that discussion comments about [DE 51-2 under seal] which was submitted to the Publisher in

mid-January, before Defendant’s arrest, and over which Defendant, according to the Publisher,

had “no control over the the printing, distribution, or sales of the New Edition” (Attachment A, ¶

11), was not responsive to the show cause order. After the Court announced its ruling, the hearing

came to a swift conclusion.

        The fact that while on February 21, 2019, counsel suggested some limits as a future remedy,

it did not occur to counsel that he should then (or in the February 8, 2019 Response) present issues

regarding Mr. Stone’s prior writings—namely, in January 2019.

        (3)     The Motion to Clarify, although not clear on the “general release” date, was and

remains a good faith effort to alert the Court to a portion of a publication which was written before

Defendant’s arrest and is now offered for sale, during a time when the February 21, 2019

restrictions are in place.




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                                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on March 4, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.

     United States Attorney’s Office for the           United States Department of Justice
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